Case 1:21-cr-00175-TJK Document 772 Filed 04/27/23 Page 1 of 1

CO 109A - Rev, 3/2010

UNITED STATES DISTRICT AND BANKRUPTCY COURTS
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

 

vs. Civil/Criminal No... 21-CR-175 (TJK)

ETHAN NORDEAN et al

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